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THE UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF MARYLAND

CASE No. ici `° l&‘l<*?` 'q;b@

AFFLI_)AVIT IN SUPPORT OF CRIMINAL C()MPLAINT

IN THE MA'I`TER OF:

Criminal Complaint for Kirk Gross
` a/k/a White Boy

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I, lvo M. Louvado, a Task Force Officer With Homeland Security Investigations, being
duly_Sworn, depose and state that:

l. Your Affiant makes this Affidavit in support of a criminal complaint and arrest
warrant for Kirk Gross a/k/a White Boy (“GROSS”). ,

2. Your Affiant submits that probable cause exists to believe that GROSS is engaging
in drug trafficking activities in violation of 21 U.S.C. § 84l(a)(l) and is prohibited person
possessing a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(l).

Affiant’s Background

3. Your Affiant is an investigative or law enforcement officer of the United States
within the meaning of 18 U.S.C. § 2510(7)_that is, an officer of the United States who is
empowered by law to conduct investigations of, and make arrests for, offenses enumerated in 18
U.S.C. § 2516. -

4. Since January 20]8, your Affiant has been a Task Force Officer With the
Immigration and Custorns Enforcement’s Homeland Security Investigations (“HSI”), assigned to
the Anti-Crime Section in Baltirnore, Maryland. Your Affiant also works at the Baltimore City
Police Department for twenty years, rising to the level of Detective over fifteen years ago.

5. As a HSI Task Force Officer, your Affiant has participated in numerous

investigations, several of which were Org_anized Crime Drug Enforcement Task Force

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investigationsl During these investigations, your Affiant has performed duties associated with
electronic surveillance including, but not limited to, serving as the lead case agent, monitoring
consensual telephone calls, conducting physical surveillance, examining records related to
narcotics trafficking and money laundering, and preparing toll analyses In addition, your Affiant
has worked directly with confidential sources and informants to conduct controlled drug '
purchases; has debriefed them; and has interviewed drug dealers and users about their lifestyle,
appearance, and habits. Moreover, your Affiant has applied for search warrants, arrest warrants,
and Title IIl wire intercepts; executed search warrants; and seized evidence related to drug
trafficking including substantial quantities of narcotics, narcotics proceeds, and narcotics
paraphemalia.

6. As a BPD Detective, your Affiant has investigated narcotics and firearms
trafficking During those investigations, your Affiant has authored and executed hundreds of
search warrants and their execution led to the seizure of firearms, narcotics, drug paraphernalia,
and documents relating to the distribution of narcotics as Well as the arrest of those who violated
state gun and drug laws.

7.' Your Affiant received specialized training in drug identification, concealment, and
distribution; drug recognition and interdiction; surveillance; interviews and interrogation; and
cellular telephone forensics and analysis. Your Affiant earned a Bachelor of Science degree in
Criminal Justice from John Jay College of Criminal Justice in New York City, New York.

8. Based on your Affiant’s knowledge, training, and experience, he has become
familiar with the following: (l) the manner in which drug traffickers (a) transport, store, and
distribute drugs, (b) collect, store , and conceal the proceeds of their illegal activities', and (2) the

ways in which narcotics traffickers use cellular telephones, cellular telephone technology, coded

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communications or slang during conversations, and other means to facilitate their illegal activities

and thwart law enforcement investigations

9. Specifically, based on your Affiant’s knowledge, training and experience, your

Affiant learned that persons involved in illegal drug distribution commonly do the following:

3.

Maintain keys to safe deposit box, books, records, receipts, notes, ledgers,
bank records, money orders, and other papers relating to the importation,
manufacture, transportation, ordering, sale, and distribution of illegal
controlled substances Dealers in illegal controlled substances maintain the
aforementioned enumerated items where they have ready access to them,
such as in secured locations within their residence, the residences of their
friends, family members, and associates, or their drug distribution locations
Due to the advancement in technology, drug traffickers may use computers
and other electronic storage media, including cellular telephones and
personal tablets, to store the'records listed above.

Take, or cause to be taken, photos of themselves, their associates, their
property, and illegal contraband Dn.lg traffickers usually maintain these
photos where they can readily access them, such as their cellular telephone
and electronic devices, their residence, the residences of their friends,
family members or associates

Use cellular telephones and other electronic devices to maintain their co-
conspirators’ names and contact information, facilitate drug transactions,

and run their drug distribution operations

Basis of lnformation

10. The facts set forth in this Affidavit does not contain every fact known to me

regarding this investigation, but rather contains information necessary to demonstrate probable

cause in support of the above-referenced search warrant. The facts and information contained in

this affidavit are based on my personal knowledge and information obtained from federal and

state law enforcement officers. All observations referenced in this affidavit that I did not

personally make were relayed to me by the person(s) who made such observations or in reports

that detailed the events described by that person(s).

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Probable Cause
ll. In mid-July 2018, HSI Baltimore received information from Cooperating
Defendant l (“CD-l”)l that GROSS, a large-scale narcotics trafficker in Baltimore, supplies
others with heroin, cocaine, and fentanyl and oversees the daily operation of narcotics shops in

Baltimore.

12. Between August and September 2018, CD-l, on behalf of HSI, made four
controlled purchases of heroin and/or fentanyl, totaling approximately one hundred thirty-four

(134) grams.

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l3. During this investigation, law enforcement conducted surveillance of GROSS at
different locations_including his residence located at 9202 Appleford Circle, Apt. 448, Owings
Mills, Maryland 21117 (“Target Location 1”) that he later admitted, during the search warrant
execution on Target Location 1, to occasionally staying there with his girlfriend, Latoya Dow-
and began identifying GROSS’ co-conspirators. Among GROSS’ co-conspirators was Andre
Fields (“FIELD_S”), who operates a 2006 white Chevrolet Silverado bearing Maryland license tag
number 1DM6388 and registered to FIELDS at 20635 Woodbridge Drive, Hagerstown, Maryland
21742 (“FIELDS’ Vehicle 1”) and a silver Lexus bearing Maryland license tag number A168202
and registered to FIELDS and Shenia Graham at 20635 Woodbridge Drive, Hagerstown,

Maryland 217-42 (“FIELDS’ Vehicle 2”).

 

1 CD-l has pending narcotics distribution charges‘outside of Maryland is cooperating with law
enforcement to obtain leniency on those charges. To date, CD-l has not provided false or
misleading information to your Affiant. Additionally, CD-l has provided information to your
Affiant that law enforcement has corroborated, to the extent possible. Based upon the information
that CD-l provided to your Affiant as well as other law enforcement’s interactions and
supervisions of CD-l, your Affiant finds CD-l to be credible and reliable.

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14. For instance, on February 23, 2019, HSI investigators observed FIELDS enter the
front of Target Location 1 at approximately 4:30 p.m. and exited Target Location 1 clutching a
dark bag close to his body and ran to FIELDS’ Vehicle 2. Based on your Affiant’s training,
knowledge, and experience, your Affiant believes that the dark bag contained narcotics that

GRoss suppiied to FIELDS.

15. On March 4, 2019, Honorable Christopher L. Panos of Baltimore City Circuit Court
issued a tracking warrant authorizing the use of a Global Positioning System (“GPS”) device on

FIELDS’ Vehicle 1.

16. On March 19, 2019, investigators conducted Surveillance of FIELDS’ Vehicle 1
based on the court-authorized GPS data. At approximately 3 :40 p.m., an HSI investigator observed
FIELDS’ Vehicle 1 traveling south of Robinwood Drive in Hagerstown, Maryland at which time

that investigator positively identified FIELDS as the driver of FI'ELDS’ Vehicle 1.

17. On the same day, at approximately 3:53 p.m., a Maryland State Police observed
FIELDS’ Vehicle l with illegal tint and an obstructed registration plate being operated on the
highway and conducted a traffic stop on FIELDS’ Vehicle 1. FIELDS, who presented his

Maryland driver’s license, .was the driver of FIELDS’ Vehicle 1.

18. During the stop, a trained and certified narcotics detection dog, K-9 Preacher,2

rendered a positive alert on the driver side of FIELDS’ Vehicle 1.

 

2 “Preacher” was last certified in November 2018 to alert on odors of ecstasy, cocaine, heroin,
methamphetamine, and marijuana and is trained monthly to ensure his accuracy. Maryland State
Police Trooper David Thompson is Preacher’s handler

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l9. Law enforcement searched FIELDS’ Vehicle 1 and recovered a clear plastic zip
lock bag containing approximately one hundred (100) grams of a tan rock Substance, suspected

heroin, from the center console. As a result, law enforcement arrested FIELDS.

20. On March 20, 2019, a laboratory confirmed that the recovered tan rock substance

was 98.326 grams of a substance containing heroin and fentanyl.

2l. Based on state court-authorized GPS tracking of GROSS’ cellular telephone
assigned telephone number (410) 622-1935 (“GROSS’ cell phone”) in conjunction with physical
surveillance, law enforcement learned that GROSS frequented his second residence located at 9
Anandale Court, Pikesville, Maryland 21208 (“Target Location 2”)_which GROSS shared with
his wife, Felicia Garrett Gross. HSI investigators often observed GROSS enter and exit Target

Location 2, as recent as April 5, 2019.

22. Target Location 2 is listed as GROSS’ address on his Maryland Vehicle

Administration driver’s license.

23. As recent as April 4, 2019, the 7 GPS tracking data from GROSS’ cell phone
reflected that GROSS was in the area of Target Location 1, and HSI investigators observed
parked at Target Location 1 the 2018 silver Toyota Camry bearing Maryland license tag number
5DP1764 and registered to All Car Leasing located at 6500 Baltimore National Pike, Catonsville,
Maryland 21228 (“GROSS’ Rental Vehicle”) that law enforcement observed GROSS driving it
several times, as recent as April 4, 2019. Additionally, HSI` investigators often observed GROSS

enter and exit Target Location 1, as recent as April 5, 2019.

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24. On April 5, 2019 at approximately 9: 12 a.m., HSI investigators observed GROSS
exit Target Location 2, remove a black duffel bag from the trunk of GROSS’ Rental Vehicle,

and carry that bag into Target Location 2.

25. On the same day shortly after such observations Honorable Kathleen Gallogly Cox
of the Baltimore County Circuit Court issued search and seizure warrants for Target Location l

and Target Location 2, and investigators executed those warrants

26. From Target Location 1, investigators recovered, inter alia, a cardboard box
containing a black plastic bag containing a clear plastic bag containing a tan powder substance
(suspected heroin/fentanyl), four ziplock baggies containing a white substance (suspected cocaine)
from the rear bedroom c]oset; a black cloth bag containing a large ziplock bag containing a tan
powder substance that field tested positive for heroin and fentanyl from rear bedroom closet top
shelf inside of a shoe box; a black bag containing two firearms with magazines from the hallway
closet; and digital scales, a sifter, heat bag sealer, and a cellular telephone from the kitchen; and

an I-pad from the living room floor.

27. From Target Location 2, investigators recovered, inter alia, an undetermined
amount of bulk United States currency in various denominations and various drug ledgers from
the closet and clothing hamper in the master bedroom; and two handguns with loose ammunition
and loaded magazines from inside of a shoe box in the master bedroom closet.

28. GROSS, having been previously convicted of at least one crime punishable by
more than one year, is prohibited from possessing a firearm or ammunition

29. The seized firearms traveled through interstate commerce prior to law

enforcement’s execution of the search warrants

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Conclusion
30. Based on the foregoing, your Affiant submits there is probable cause to believe that
GROSS is engaging in drug trafficking activities in violation of 21 U.S.C. § 841(a)(l) and is a
prohibited person possessing a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1).

31. Accordingly, your Affiant respectfully requests the issuance of the requested

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criminal complaint and arrest warrant

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l\/: Louvado
Task Force Officer
Homeland Security Investigations

Subscribed and sworn before me this g‘d'ay of April, 2019.

 
   

Honorable A
United States Magistrate Judge

